         Case 3:20-cv-00822-MEM-DB Document 5 Filed 10/16/20 Page 1 of 1




                    UNITED STATES DISTRICT COURT
                   MIDDLE DISTRICT OF PENNSYLVANIA



 DENNIS A. FORBES                       :

                   Petitioner           :     CIVIL ACTION NO. 3:20-0822

          v.                            :          (JUDGE MANNION)

                                        :
 UNITED STATES OF AMERICA,
                                        :
                   Respondent

                                    ORDER

        In accordance with this Court’s memorandum issued this same day, IT

IS HEREBY ORDERED THAT:

        1. The Clerk of Court is directed to TRANSFER this case to the
           United States District Court for the Eastern District of
           Kentucky, due to this Court’s lack of jurisdiction over the
           matter. See 28 U.S.C. §1404(a); 28 U.S.C. §1406(a).

        2. The Clerk of Court is directed to CLOSE THIS CASE.



                                            s/ Malachy E. Mannion___
                                            MALACHY E. MANNION
                                            United States District Judge
DATE: October 16, 2020
20-0822-01-Order
